      Case 2:17-cv-02001-RDP-JHE Document 102 Filed 02/03/21 Page 1 of 1                                  FILED
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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


 DANNY FOSTER,                                     }
                                                   }
         Plaintiff,                                }
                                                   }
 v.                                                }    Case No.: 2:17-cv-02001-RDP-JHE
                                                   }
 CORRECTIONAL LIEUTENANT                           }
 JENKINS, et al.,                                  }
                                                   }
         Defendants.                               }


                                    ORDER OF DISMISSAL
       The court conducted a settlement conference with the parties on February 3, 2021. During

that conference, the parties reached a settlement. The court, having been informed that a settlement

has been reached, DISMISSES this case WITHOUT PREJUDICE. The court shall retain

jurisdiction over this matter for the sole purpose of enforcing the settlement reached by the parties.

       The parties are DIRECTED to submit a joint stipulation of dismissal once all settlement

documentation is complete, but not later than sixty (60) days from the entry date of this Order, at

which time the court will dismiss this matter with prejudice.

       DONE and ORDERED this February 3, 2021.



                                               _________________________________
                                               R. DAVID PROCTOR
                                               UNITED STATES DISTRICT JUDGE
